             UNITED STATES COURT OF APPEALS FOR THE EIGHTH CIRCUIT
                           APPEARANCE OF COUNSEL

                                                Department of Veterans Affairs, Denis McDonough,
            Dr. Estella Morris
                                                Secretary of the Department of Veterans Affairs
Case Title: _______________________________ vs._________________________________

                                                            23-3548
The Clerk will enter my appearance as Counsel in Appeal No. _______________for the
following party(s): (please specify)

 Dr. Estella Morris




✔ Appellant(s)      Petitioner(s)     Appellee(s)      Respondent(s)      Amicus Curiae         Intervenor(s)



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               Michael Honaker
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                                          CERTIFICATE OF SERVICE
                              11/28/23
 ✔ hereby certify that on ____________, I electronically filed the foregoing with the Clerk of the Court for the
_____I
United States Court of Appeals for the Eighth Circuit by using the CM/ECF system.

_____I further certify that some of the participants in the case are not CM/ECF users. I have mailed the foregoing
document by First-Class Mail, postage prepaid, or have dispatched it to a third-party commercial carrier for delivery
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